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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA
Vv. Criminal Action No. 21-153 (RBW)
DANIEL GOODWYN,
Defendant.
)
ORDER

Upon consideration of defense counsel’s Motion for Leave to File Under Seal Exhibit A
to Motion to Withdraw as Counsel, ECF No. 93, it is hereby

ORDERED that defense counsel’s Motion for Leave to File Under Seal Exhibit A to
Motion to Withdraw as Counsel, ECF No. 93, is GRANTED. It is further

ORDERED that defense counsel shall file Exhibit A to his Motion to Withdraw as
Counsel, ECF No. 93, under seal.

SO ORDERED this 21st day of April, 2023.

 
 

e/ lth

REGGIE B. WALTON
United States District Court Judge
